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5    CMAM, Inc. dba Heritage Financial Services

6
                                        UNITED STATES DISTRICT COURT
7
                    CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
8

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11   KOLETTE A. PAGE AND CLETUS M. PAGE                    )    Case No. 8:18-cv-01208 AG (KESx)
                                                           )    (Assign: Hon. Judge Andrew J. Guilford)
12                        PlaintiffS,                      )
                                                           )
13                   v.                                    )    EXHIBITS IN SUPPORT OF
                                                           )    MOTION FOR MORE DEFINITE
14   MINNESOTA LIFE INSURANCE                              )    STATEMENT OR IN THE
     COMP ANY, SHURWEST HOLDING                            )    ALTERNATIVE MOTION TO
15   COMP ANY, INC., SHUR WEST, LLC;                       )    DISMISS COMPLAINT AGAINST
     HAPPY STATE BANK & TRUST COMP ANY                     )    DEFENDANTS (Fed. R. Civ. P. 12(e)
16   DBA GOLDSTAR TRUST COMPANY;                           )    and 12(b)(6)
     FUTURE INCOME PAYMENTS, LLC;                          )
17   CMAM, INC. DBA HERITAGE FINANCIAL                     )    Hearing Date: December 17, 2018
     SERVICES; ALBERT ANDREW MANFRE;                       )    Hearing Time: 10:00 am
18   JEANNETTE MANFRE; MATTHEW LEE                         )    Courtroom: l0D
     BIESER, AND DOES 1 - 10,                              )
19                                                         )
                          Defendants.                      )    [REQUEST FOR JURY TRIAL]
20
               Defendants, CMAM, Inc. dba Heritage Financial Services and Albert Manfre and Jeannette
21
     Manfre (hereinafter collectively "Defendants") provide the attached Exhibits 1 & 2 in support of it's
22
     motion.
23

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                       /z,,
                         l{
     DATED:-+--•               2018
25
                                               James A. Ant n, Att mey for Defendants, Jeannette Manfre,
26                                      Albert Manfre and O       Inc. dba Heritage Financial Services

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                                                           1
                      EXHIBITS IN SUPPORT OF MOTION FOR DEFINA TE STATEMENT OR TO DISMISS
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                                EXHIBIT 1
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                                                                                          FIPlLCPurchaseAgreement //   p. 2



            approved the cash flows comprisingthe PurchasedAsset (the "Closing") FIPwill sell, transfer and convey all
            right, title and Interest in and to the PurchasedAssetto Purchaserin return for the PurchasePrice.

     2. Establishmentof PaymentAccount:.ftemlttanceof PurchasedAsset. Uponthe Closingand until the end of the
        Term, FIPwill direct the Sellerto forward·allpaymentscomprisingthe P11rchased
                                                                                   Assetto an accountestablished
        by FIP(the "PaymentAccount".),and will direct such paymentsfrom the PaymentAccountto the Purchaser.

     3, Fundingof EscrowAccount. In connection with and simultaneousto the-execution and submissionof the
        PurchaseRequest,Purchaser,at _thedirection of the IRA owner, shall causefunds in the full amount of the
        PurchasePriceto be wired to the EscrowAccount identified above. The PurchasePricewlll be releasedfrom
        the EscrowAccount by EscrowAgentas set forth in the terms of this Agreement.

     4. Survivor BeneficlafY.If the Sellerof cashflows comprisingthe PurchasedAssetdesignatesa survivorbeneficiary
        upon the Seller'sdeath,then 'flP may require suchsurvivor,beneficiaryto agreeto be bound by the terms of the
        underlying sale agreement between FIPand the Seller (the "Underlying SaleAgreement"), and to forward all
        such paymentscomprisingthe·PurchasedAssetas per the terms of suchUnderlyingSaleAgreement.

     5.     Representations and Warranties of FIP. As of the date of the Closing, FIP hereby makes the following
            representations,warranties an~ acknowledgementsto and for the benefit of Purchaserand IRAOwner.

     5.1.       Organization and Good Standing. FIPis a limited liability compa·nyduly organized,validly existing·and in
                good standing under the laws of the State of Nevada and hasorganization power and authority to own
                its properties and to conduct its businessas such properties shallthen be owned and suchbusinessis then
                conducted.                                                                              ·

     5.2.       Power and J)ythoritv. FIPhas f~l1power, autl)ority and.right to executeand de_liverthis Agreement, and
                has full power and authority to perform its obligations hereunder, and has.taken all necessaryacti~n to
                authorize and has duly authorized.the execution, delivery and performance of this Agreement and the
                performanceof suchobligations.                                                     ·            '

     5.3.        Binding Qbligotion, ThisAgreementconstitutes the legal, valid a~d binding obligations_ofFIPenforceable
                 againstFIPin accordancewith itsterms, except as enforceability may be limited by.bankruptcy,insolvency,
                 reorganization, moratoriu_mand other similar laws affecting creditors' rights generally or by general
                 principlesof equity.

      6.     Representations and Warranties of Purchaser and IRA Owner.

      6.1.       Competencyand Consent. Purchaserand IRAOwner are competent to enter into this Agreementand has
                 voluntarily entered into this Agreementas an act of free will and with full capacityto understandthe terms
                 and conditions contained herein.

      6.2.       Binding Obligation. This Agreement constitutes the legal, valid and binding obligationsof Purchaserand
                 IRA Qwner enforceable against':•Purchaserand IRA ·owner in accordance with its terms, except as
                 enfo;ceabl!ity maybe limited by bankruptcy,insolvency,reorganization,moratorium and other similar laws
                 affecting creditors' rights generallyor by generall)rinciplesof equity.

      6.3.       Risksof PurchasedAsset. FIPhas put mechanismsin place which it believes       wm
                                                                                                protect the Purchaser's
                 right to receive the paymentscomprisingthe PurchasedAsseton behalf ofthe IRAOwner; however; IRA
                 Owner understandsand acknowledgesthat there are multiple risks associatedwith the purchaseof the
                 PurchasedAsset.Theserisksinclude,but are not limited to those listed below. By
                                                                                              initialing nextlo each risk
                 listed below, the IRAOwner acknowledgesand agreesthat he or shehasread, fully understandsand accepts
                 the risksof purchasingthe PurchasedAsset.




                                                                                                                       FIPUC
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                                                                                      FIPllC Purchase Aateement   //   p. 4



             6.3.6 ~ No Governmental         Bocking. The payments comprising the Purchased Asset are not
                   L.[;d deposits and are not insured by the Federal Deposit Insurance Corporation or any
                   1NITIALS other governmental or non-governmental agency.


             6.3.7             IlliquidAsset. There is currently no recognized secondary market for the Purchased
                               Asset, and It Is extremely unlikely that one will develop; thus, if Purchaser is directed
                           I.S by the IRAOwner to sell the Purchased Asset prior to the end of the Term, ft wfll likely
                               be difficult or Impossible to do so. In order to receive all payments comprlsing the
                               Purchased Asset, the Purchaser, as directed by the IRAOwner, will be required to
                               hold the Purchased Asset untn the expiration of the Term.

             6.3.8 ~            Prohibitions
                                         inLaw.U.S. federal law currently prohibits the assignment       or alienation
                      ~ of pension payments for both military and non-mllita,y pensions.                However, FIP
                      INITIALS believes the law in the area of what constitutes an "assignment or alienation'' Is
                               unsettled. For example, some courts have held the sale of cash flows from military
                               peMlons, where the purchased cash flows are deposited into an account controlled
                               by the purchaser, are prohibited by federal law. while others have held such
                               transactions are not prohibited. FIP does not have the purchased c:ash flows
                               deposited into an account it controls, nor assigned directly to an escrow account, but
                               Instead has the purchased payment amount forwarded to a purchaser after the seller
                               has taken receipt of the funds. FIPis not aware of any case which has held that the
                               sate of a pension payment Is prohibited by federal law after receipt of the funds by
                               the seller, or any case which has held that the sale of a non-military pension ls
                               prohibited by federal law. Under its contract, FIPbelieves the sale of the Purchased
                               Asset does not constitute a prohlbltect assignment or alienation. This may, however,
                               change and the federal or state governments may pass and implement laws
                               speclflcally prohibiting the sale of military and non-military pensions In transactions
                               such as those contemplated in this Agreement, even where the purchased cash flows
                               are not deposited in an account controlled by the purchaser. In the event laws
                                prohibiting such transactions were passed, it is unknown whether the Purch~er, on
                                behalf of the IRAOwner, would receive all of the payments comprising the Purchased
                                Asset, and FIPmay not be able to recover any of the purchase price paid to the Seller
                                resulting in the IRAOwner suffering a significant loss on the Purchase Price of the
                                Purchased Asset.

              6.3.9   ~        /VoGuaranteesof Payment. While FIP has taken certain steps {described In Section
                      ~        7 below) to mitigate some of the risks set forth in this Section 6.3, FIPMAKESNO
                      INITIALS GUARANTEE    PURCHASER      Will RECEIVEALL PAYMENTSCOMPRISING               THE
                               PURCHASED   ASSET,ORTHATIRAOWNERWill RECEIVE             BACKTHE PVRCHASE   PRICE
                               OR ANY AMOUNTIN EXCESS        THEREOF.The mechanisms put In place by FIP to
                               mitigate some of the risks of purchasing the Purchased Asset may not cover the
                               payments comprising the Purchased Asset indefinitely.

              6.3.10 ~ Characterization          ofSo/eTransactions    qsLoons.FIPhas undertaken good faith efforts
                     ~ to structure the purchase of the cash flows comprising the Purchased Asset from the
                     1N1TIAlS Seller as a sale, rather than a loan, transaction. Notwithstanding these efforts, FIP
                              has received reQuests for information and/or subpoenas from state regulators
                              seeking documents and Information In order to permit such regulators to make their
                              own determination of whether these transactions are loans or sales transactions. In
                              the event that these transactions are determined to be loans, rather than purchases,
                              by the pertinent regulator and if flP cannot obtain an appropriate lenders license in
                              the pertinent jurisdiction, it Is possible that state regulators may require FIPto cease
                              collecting the cash flows comprising the Purchased Asset with the result that


                                                                                                                       FIPLLC
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                                                                                                FIPUC Purchase Agreement II p. S


                                       purchasers of cash flows in the Impacted jurisdictions will not receive all payments
                                       comprising the PurchasedAsset.

     6.4.       Sophisticationo(IRA Owner. The IRA Owner is sufficiently sophisticated, knowledgeable and experienced
                In financial and business matters as to be capable of determining and evaluating the merits and risks of
                purchasing the Purchased Asset and to be capable of protecting the Purchaser's and IRA Owner's interests
                in connection with such purchase.

     6.S.       Suitability. The IRA Owner has determined, based on his or her own independent review and such
                professional advice as her or she has deemed appropriate under the circumstances, that the acquisition of
                the Purchased Asset by the Purchaser at the IRA Owner's direction: {i) is fully consistent with his or her
                financial needs, objectives and condition, and (ii) is fit, proper and suitable, notwithstanding the risks
                inherent in purchasing the Purchased Asset, and has directed the Purchaser to enter into this Agreement
                and purchase the Purchased Asset.

     6.6.       Payment of Toxes. During the term of this Agreement, IRA Owner shall timely pay all federal and state
                income taxes, and any and all other taxes which IRA Owner is required to pay, both in connection the
                Purchased Asset and otherwise, and under no circumstances will FIP have any responsibility for such taxes.

     6.7.       Further Assurances:Cooperation.Purchaser and IRA Owner agree to execute and deliver any and all other
                documents that may be required for FIPto secure the Purchaser's rights to the Purchased Asset. Purchaser
                and IRA Owner further agree to take any and all other actions as may be necessary or appropriate to fully
                give effect to the intentions of the parties under this Agreement.

     7.     Purchaser Protections. FIP has established certain mechanisms and processes intended to reduce, but not
            eliminate, the risk of disruption of the payments comprising the Purchased Asset. Purchaser and IRA Owner
            understand and accept that because the cash flows comprising the Purchased Asset must be forwarded by the
            Original Owner each month, FIPcannot and does not guarantee that disruptions in such payments will not occur.
            The funds available in the shortfall and reserve account are meant to protect the purchaser/IRA Owner as it
            relates to two primary risks: 1) the risk that the Seller dies before end of the term; and 2) failure by the Seller to
            make the payments required by the Underlying Sale Agreement (except, as noted in Section 6.3.3 above, for
            instances in which the failure to make the payments is a result of the entity obligated to make such payments
            to the Seller failing to do so) and 3} the event that these transactions are determined to be loans, rather than
            purchases.

     7.1.        Establishmentof Shortfa/l"'ccountand ReserveAccount. In order to mitigate some of the risks set forth in
                 Section 6 and Section 7 of this Agreement, FIPhas established two accounts for the benefits of Purchasers:
                 1) an account containing a limited amount of funds to cover immediate shortfalls in the event an Seller fails
                 to forward a payment as promised (the "ShortfallAccount");and 2) a reserve account (the "Reserve
                 Account")into which FIP will deposit a portion of the profits it derives from its business, the proceeds of
                 which will be available to reimburse FIP or, under certain circumstances, the Purchaser, in the event an
                 Seller fails to forward the payments comprising the Purchased Asset as promised (except as set out in
                 Section 6.3.3). In the event that the Seller breaches the obligation under the Underlying Sale Agreement
                 to make the required payments, or the payments comprising the Purchased Asset are otherwise
                 interrupted, assuming the Shortfall Account has a positive balance and that the failure ls not a result of the
                 circumstances described in Section 6.3.3, FIPwillcover temporarily any interruption in payments to the
                  Purchaser by making such payments for a limited period of time out of the Shortfall Account. As set forth
                 in Section 7.2, if FIP determines It is necessary, It wit! find a replacement cash flow for the Purchaser and
                  FIP will seek reimbursement for the related expense from the Reserve Account. FIP has no obligation to
                  add any additional funds to the Shortfall Account or the Reserve Account in order to cover lossessuffered
                  by the Purchaser. FIPDOESNOTGUARANTEE          THATFUNDSWIU BEAVAILABLEIN EITHERTHESHORTFALL
                  ACCOUNT     OR THE RESERVE    ACCOUNT    TO CONTINUE       PAYMENTS    TOTHE PURCHASER     FORANYSPECIFIC
                 PERIODOF TIME.



                                                                                                                            FIP llC
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                                 EXHIBIT 2
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                                                                                               FIP LLCPurchaseAsreement //   p. 2


             approved the cash flows comprising the Purchased Asset (the "Closing") FIP will sell, transfer and convey all
             right, title and interest in and to the Purchased Asset to Purchaser in return for the Purchase Price.

     z.      Establishment of Payment Account; Remittance of Purchased Asset. Upon the Closing and until the end of the
             Term, FIPwill direct the Seller to forward all payments comprising the Purchased Asset to an account established
             by FIP (the "Payment Account"), and will direct such payments from the Payment Account to the Purchaser.

     3.      Funding of Escrow Account. In connection with and simultaneous to the execution and submission of the
             Purchase Request, Purchaser, at the direction of the IRA Owner, shall cause funds in the full amount of the
             Purchase Price to be wired to the Escrow Account identified above. The Purchase Price will be released from
             the Escrow Account by Escrow Agent as set forth in the terms of this Agreement.

     4.      Survivor Beneficiary. If the Seller of cash flows comprising the Purchased Asset designates a survivor beneficiary
             upon the Seller's d·eath, then FIP may require such survivor beneficiary to agree to be bound by the terms of the
             underlying sale agreement between FIP and the Seller {the "UnderlyingSale Agreement"),and to forward all
             such payments comprising the Purchased Asset as per the terms of such Underlying Sale Agreement.

     s.      Representations and Warranties of FIP. As of the date of the Closing, FIP hereby makes the following
             representations, warranties and acknowledgements to and for the benefit of Purchaser and IRA Owner .

     5.1.         Organization and Good Standing. FIP is a limited liability company duly organized, validly e,cisting and in
                  good standing under the laws of the State of Nevada and has organization power and authority to own
                  its properties and to conduct its business as such properties shall then be owned and such business is then
                  conducted.

     5.2.         Power and Authority . FIP has full power, authority and right to execute and deliver this Agreement, and
                  has full power and authority to perform its obligations hereunder, and has taken all necessary action to
                  authorize and has duty authorized the execution, delivery and performance of this Agreement and the
                  performance of such obligations.

     5.3.         Binding Obligation. Thls Agreement constitutes the legal, valid and binding obligations of FIP enforceable
                  against FIPin accordance with its terms, except as enforceability may be limited by bankruptcy, insolvency,
                  reorganization, moratorium and other similar laws affecting creditors' rights generally or by general
                  principles of equity.

     6.      Representatio_ns and Warranties of Purcha~er and IRA O~ner .

      6.1.        Competency and Consent. Purchaser and IRA Owner are competent to enter into this Agreement and has
                  voluntarily entered into this Agreement as an act of free will and with full capacity to understand the terms
                  and conditions contained herein.

      6.2.        Binding Obligation. This Agreement constitutes the legal. valid and binding obligations of Purchaser and
                  IRA Qwner enforceable against Purchaser and IRA Owner in accordance with its terms, e,ccept as
                  enforceability may be limited by bankruptcy, insolvency, reorganization, moratorium and other similar laws
                  affecting creditors' rights generally or by general principles of equity.

      6.3.        Risks of Purchased Asset. FIP has put mechanisms in place which it believes will protect the Purchaser's
                  right to receive the payments comprising the Purchased Asset on behalf of the IRA Owner; however, IRA
                  Owner understands and acknowledges that there are multiple risks associated with the purchase of the
                  Purchased Asset. These risks include. but are not limited to those listed below. By initialing next to each risk
                  listed below, the IRAOwner acknowledges and agrees that he or she has read, fully understands and accepts
                  the risks of purchasing the Purchased Asset.




                                                                                                                             FIP LLC
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                                                                                     FtPLLCPurchaseAgreement //   p.   3


                                 l,ll:j~.u...,=li.1.--~Br:!..Ee.l!l:L!h.
                                                                Receipt by Purchaser of the payments comprislng the
                  u.-'-!i..<-J    Purchased Asset is dependent upon the Seller adhering to the terms of the
                                  Underlying SaleAgreement. If the Seller breachesthe terms of the UnderlyingSale
                                  Agreement and fails to make paymentsas scheduled,andthere are Insufficient lunds
                                  in the ReserveAccount (as defined in Section 7 .1) to cover such payments and FIPis
                                  unable to procure a Replacement Purchased Asset (as defined in Section 7.2),
                                  Purchasermay lose some or all of the PurchasePrice,and may not recr.lvc all of the
                                  pa ents comprising the PurchasedAsset.

                                        SellerBonkr t . Ifthe Sellerdeclaresbankruptcy, and the bankruptcycourt
                                does not treat the sale of the PurchasedAsset as a true sale, but rather as a loan or
                  }H.::::ir1r:-Ian unsecuredobligation, and there are insufficient funds In the ReserveAccount (as
                                defined In Section 7.1) to cover such payments and FIP is unable to procure a
                                ReplacementPurchasedAsset (as defined in Section 7.2), Purchasermay lose some
                                or all of the PurchasePrice, and may not receive all of the payments comprisingthe
                                       asedAsset.

                                        P nslon Ob/I or Failure nsolven . The payments compri5ing the Purchased
                                 Asset are derived from pension obligations owed to individuals, typically from
                 A,'-=-~-1       companies with which these Individuals were previously employed. If the company
                                 pension plan obligated to make the payments comprising the PurchasedAsset,
                                 becomes insolvent, declare5 bankruptcy or otherwise reneges on the obligation to
                                 make the payments comprising the PurchasedAsset to the Seller prior to the time
                                 that the Purchaserhas received all payment comprising the PurchasedAsset,then
                                 Purchaserwill lose some or all of the PurchasePrice, and wlll not receive anof the
                                 payments comprising the PurchasedAsset. THE RISKSETFORTHIN THIS SECTION
                                 6.3.3 IS NOT MITIGATED    BYOR PROTECTED     AGAINSTBYTHEPROTECTIONSSET
                                     RTHIN SECTION1 HEREIN.

                         lskof TemporaryShortfall  Account and ReserveAccount Depletion. As describedin
                       Section 7.1, In order to mitigate some of the risk that a Seller fails to forward a
                   ~~~ payment as agreed FIP will establish a Shortfall Account and a ReseM! Account.
                       Neither the Shortfall Account nor the ReserveAccount are establishedfor the sole or
                       specific benefit of the Purchaser,and each will only contain or have accessto a
                       limited amount of funds. FIP will have no obligation to contribute any additional
                       funds to increasethe sum held in the Shortfall Account or the ReserveAccount. In
                       the event that other sellersof ca5hflows to FIP, subsequentlyre -sold by FIPto other
                       purchasers, fail to forward payments as agreedit is possible that the Shortfall
                       Account and the ReserveAccount will be depleted covering obligations to other
                       purchasersand that no funds will remain to cover any payments to the Purchaser.
                       THEEXIST£NCE     OF THE SHORTFALL     ACCOUNT    AND THERESERVE    ACCOUNT     DOES
                        NOT GUARANTEE      PURCHASER    WILLRECEIVE      ALL PAYMENTS   COMPRISING     THE
                        PU CHASEDASSETS.

                                              rv\,        , ia         . In instances where the Seller has named a
                                   survivor beneficiary for the cash nows received by such Seller in the event of the
                                 1
                    --.....,       Seller's death, FIP has required such survivor beneficiary to sign an agreement
                                   pledging to honor the terms of the sale of the cash flow by the Seller to FIP. It is
                                   possible,however, that such beneficiarywill breach the terms of the agreementwith
                                   FIP,and If FIP is unable to procure a Replacement PurchasedAsset (as defined in
                                   Section 7.2), Purchaser may lose some or all of the Purchase Price, and may not
                                   receive all of the payments comprising the PurchasedAsset.




                                                                                                                  FIP~lC
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                                                                                                           Agteeme~t// p. 4
                                                                                              FIPUC Purchase


              6.3.6




                                       WiauidAsgt.There is currentlv      no recognized secondary market for the Purchased
                      ,, ,..--~        Asset, and It Is extremely unliketv that one will develop; thus, If Purchaser is directed
                                       bv the IRAOwner to sell the PurchasedAsset prior to the end of the Term, it wil I likely
                                       be difficult or Impossible to do so. In order to receive all pavments comprising the
                                       Purchased Asset, the Purchaser, as directed by the IRAOwner, will be required to
                                       h Id the Purchased Asset until the expiration of the Term.

                                       Prohibitionsin Low. U.S.federal law currently prohibits the assianment or alienation
                      Af...,,,,H-..,
                                       of pension payments for both militarv and non-milltarv pensions. However, FIP
                                       believes the law in the area of what constitutes an Hassignment or alienation# is
                                       unsettled. For example, some courts have held the sale of cash flows from mllitary
                                       pensions, where the purchased cash flows are deposited into an account controlled
                                       by the purchaser, are prohibited by federal law, while others have held such
                                       transactions are not prohibited. FIP does not have the purchased cash flows
                                       deposited into an account it controls, nor assigned directly to an escrow account, but
                                       instead has the purchased payment amount forwarded to a purchaser after the seller
                                       has taken receipt of the funds. FIP is not aware of any case which has held that the
                                       sale of a pension payment is prohibited by federal law after receipt of the funds by
                                       the seller, or any case which has held that the sale of a non-militarv pension is
                                       prohibited by federal law. Under its contract, FIP believes the sale of the Pu~hased
                                       Asset does not constitute a prohibited assignment or alienation. This may, however,
                                       change and the federal or state governments may pass and implement laws
                                       specifically prohibiting the sate of military and non-military pensions In transactions
                                       such as those contemplated In thls Agreement, even where the purchased cashflows
                                       are not deposited in an account controlled bv the purchaser. In the event laws
                                       prohibiting such transactions were passed, It is unknown whether the Purchaser,on
                                       behalf of the IRAOwner, would receive all of the pavments comprising the Purchased
                                       Asset, and FIPmay not be able to recover any of the purchase price paid to the Seller
                                           ulting in the IRAOwner suffering a significant loss on the Purchase Price of the
                                        Pure ased Asset.

                                         Guaranteeso Pa ment. While FIP has taken certain steps (described In Section
                                        below) to mitigate some of the risks set forth In this Section 6.3, FIPMAKESNO
                                       GUARANTEEPURCHASERWILL RECEIVEAll PAYMENTSCOMPRISINGTHE
                                       PURCHASEQ   ASSET,ORTHAT IRAOWNERWill RECEIVE           BACKTHEPURCHASE    PRICE
                                       OR ANYAMOUNTIN EXCESS         THEREOF.    The mechanisms put In place by FIP to
                                           ate some of the risks of purchasing the Purchased Asset may not cover the
                                            ents comprising the Purchased AssetIndefinitely.

                                             'hqracterlzationofScileTronsactlonsas Loons.FIPhas undertaken good faith efforts
                                            to structure the purchase of the cash flows comprising the Purchased Asset from the
                      //1...,.,,,..'t-:,f-' Seller as a sale, rather than a loan, transaction . Notwithstanding these efforts, FIP
                                            has received requests for information and/or subpoenas from state regulators
                                            seeking documents and Information in order to permit such regulators to make their
                                       own determination of whether these transactions are loans or sales transactions. In
                                       the event that these transactions are determined to be loans, rather than purchases,
                                       by the pertinent regulator and if FIPcannot obtain an appropriate lenders license In
                                       the pertinent jurisdiction, it is possible that state regulators mav require FIPto cease
                                       collecting the cash flows comprising the Purchased Asset with the result that



                                                                                                                           FIPllC
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                                                                                                 FIPUC Purchase Al!reement //   p. 5


                                        purchasers of cash flows in the impacted jurisdictions will not receive all payments
                                        comprising the Purchased Asset.

      6.4.       Sophistication oftRA Owner. The IRA Owner is sufficiently sophisticated, knowledgeable and experienced
                 in financial and business matters as to be capable of determining and evaluating the merits and risks of
                 purchasing the Purchased Asset and to be capable of protecting the Purchaser's and IRA Owner's interests
                 in connection with such purchase.

      6.5.       Suitability. The IRA Owner has determined, based on his or her own independent review and such
                 professional advice as her or she has deemed appropriate under the circumstances, that the acquisition of
                 the Purchased Asset by the Purchaser at the IRA Owner's direction: (ii is fully consistent with his or her
                 financial needs, objectives and condition, and (ii) is fit, proper and suitable, notwithstanding the risks
                 inherent in purchasing the Purchased Asset, and has directed the Purchaser to enter into this Agreement
                 and purchase the Purchased Asset.

      6.6.       Payment of Taxes. During the term of this Agreement, IRA Owner shall timely pay all federal and state
                 income taxes, and any and all other taxes which IRA Owner is required to pay, both in connection the
                 Purchased Asset and otherwise, and under no circumstances will FIP have any responsibility for such taxes .

      6.7.       Further Assurances:Cooperation. Purchaser and IRA Owner agree to execute and deliver any and all other
                 documents that may be required for FIPto secure the Purchaser's rights to the Purchased Asset. Purchaser
                 and IRA Owner further agree to take any and all other actions as may be necessary or appropriate to fully
                 give effect to the intentions of the parties under this Agreement.

      7.     PurchaserProtections. FIP has established certain mechanisms and processes intended to reduce, but not
             eliminate, the risk of disruption of the payments comprising the Purchased Asset. Purchaser and IRA Owner
             understand and accept that because the cash flows comprising the Purchased Asset must be forwarded by the
             Original Owner each month, FIPcannot and does not guarantee that disruptions in such payments will not occur.
             The funds available in the shortfall and reserve account are meant to protect the purchaser/IRA Owner as it
             relates to two primary risks: 1) the risk that the Seller dies before end of the term; and 2) failure by the Seller to
             make the payments required by the Underlying Sale Agreement (except, as noted in Section 6.3.3 above, for
             instances in which the failure to make the payments is a result of the entity obligated to make such payments
             to the Seller falling to do so) and 3) the event that these transactions are determined to be loans, rather than
             pvrchases.

      7.1.       Establishment of Shortfall Account and Reserve Account. In order to mitigate some of the risks set forth in
                 Section 6 and Section 7 of this Agreement, FIP has established two accounts for the benefits of Purchasers:
                 1) an account containing a limited amount of funds to cover immediate shortfalls in the event an Seller fails
                 to forward a payment as promised (the "Shortfall Account");and 2) a reserve account (the "Reserve
                 Account") into which FIP will deposit a portion of the profits it derives from its business, the proceeds of
                 which will be available to reimburse FIP or, under certain circumstances, the Purchaser, in the event an
                 Seller fails to forward the payments comprising the Purchased Asset as promised (except as set out in
                 Section 6.3.3}. tn the event that the Seller breaches the obligation under the Underlying Sale Agreement
                 to make the required payments, or the payments comprising the Purchased Asset are otherwise
                 interrupted, assuming the Shortfall Account has a positive balance and that the failure is not a result of the
                 circumstances described in Section 6.3.3, FIP will cover temporarily any Interruption in payments to the
                 Purchaser by making such payments for a limited period of time out of the Shortfall Account. As set forth
                 in section 7 .2, if FIP determines it is necessary, it will find a replacement cash flow for the Purchaser and
                  FIP wlli seek reimbursement for the related expense from the Reserve Account. FIP has no obligation to
                 add any additional funds to the Shortfall Account or the Reserve Account in order to cover losses suffered
                 by the Purchaser. FIPDOESNOTGUARANTEE            THATFUNDSWILLBEAVAILABLE            IN EITHER THESHORTFALL
                 ACCOUNT      ORTHERESERVE       ACCOUNT    TO CONTINUE       PAYMENTS    TOTHEPURCHASER      FORANYSPECIFIC
                  PERIODOFTIME.


                                                                                                                                FIPllC
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1                                                PROOF OF SERVICE

2    STATE OF CALIFORNIA, COUNTY OF ORANGE, UNITED STATES OF AMERICA

3       I am employed in the county of Orange, State of California. I am over the age of 18 and not a party to the
     within action; my business address is 7700 Irvine Center Drive, Suite 800, Irvine, CA 92618.
4
     On Sept. 24, 2018, I served the foregoing document described as EXHIBITS IN SUPPORT OF
5    MOTION FOR MORE DEFINITE STATEMENT OR IN THE ALTERNATIVE MOTION
     TO DISMISS COMPLAINT AGAINST DEFENDANTS (Fed. R. Civ. P. 12(e) and 12(b)(6 on
6    the interested parties in this action by placing a true copy thereof enclosed in sealed envelopes addressed as
     follows:
7
     Brandon Reif, Reif Law Group, 10250 Constellation Blvd., Suite 100, Los Angeles, CA 90067 (310) 494-6500
8    (BReif@reiflawgroup.com) (Plaintiff's)
9
     Kathy Huang, Alston & Bird, 333 South Hope Street, 16th Floor, Los Angeles, CA 90071 (213) 576-1000
     (Kathy.huang@alston.com) (Minnesota Life Ins. Co.)
10

11   Joseph Aliberti, Law Office Joseph Aliberti, 4340 Von Karman Ave., Suite 110, Newport Beach, CA 92660
     (949) 734-0550 Gma@alibertilaw.com) (Mathew Beiser)
12
     Joe Akrotirianakis, King & Spalding, 633 West Fifth Street, Suite 1700, Los Angeles, CA 90071 (213) 443-
13   4355 (JAkro@KSLAW.com) (Shurwest Holding Company, Inc. & Shurwest, LLC)

14   Faisal Zubairi, Dorsey & Shitnes, 600 Anton Blvd., Suite 2000, Costa Mesa, CA 92626-7655 (714-800-1461)
     (zubairi.faisal@dorsey.com) (Happy State Bank & Goldstar Trust Company)
15
            VIA MAIL: As follows: I am "readily familiar" with the firm's practice of collection and processing
16   correspondence for mailing. Under that practice, it would be deposited with U.S. postal service on that same
     day with postage thereon fully prepaid at Orange County, California in the ordinary course of business. I am
17   aware that on motion of the party served, service is presumed invalid if postal cancellation date or postage
     meter date is more than one day after date of deposit for mailing in affidavit.
18
             BY PERSONAL SERVICE: I delivered such envelope by hand to the office of the above
19   addressee(s) during normal business hours.

20           BY OVERNIGHT COURIER: I caused the above-referenced document(s) to be delivered to an
     ov.ernight courier service for delivery to the addressee(s) shown.
21

22
     J       VIA ELECTRONIC MAIL: The document was served electronically to the respective e-mail
     address(es) of the party(ies) as stated above and/or on the mailing list.
23     I declare under penalty of perjury under the laws of the State of California and the United States of
24
     America that the foregoing  y.raea   d correct.

        Executed Sept. 24, 2018~t-Or       e County, California.
25

26                               f7
                                 I
27                      James Ai~ton

28
                                                             2
                      EXHIBITS IN SUPPORT OF MOTION FOR DEFINA TE STATEMENT OR TO DISMISS
